                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


 UNITED STATES OF AMERICA,                         )
                                                   )
        Plaintiff,                                 )
 v.                                                )       No. 3:09-CR-64
                                                   )       (Phillips)
 ESTHER ELIZABETH McCALEBB-                        )
 PIPPENS,                                          )
                                                   )
        Defendant.                                 )


                              MEMORANDUM AND ORDER

        On May 24, 2010, the Honorable H. Bruce Guyton, United States Magistrate Judge, filed a

 Report and Recommendation (“R&R”) [Doc. 245] in which he recommended to deny Defendant’s

 Motion to Suppress [Doc. 231]. The parties appeared before Judge Guyton for an evidentiary

 hearing on April 23, 2010. On May 24, 2010, Judge Guyton filed the R&R [Doc. 245]. Neither

 party filed objections.

        Having reviewed the R&R [Doc. 245], the Court finds itself in agreement with Judge

 Guyton’s analysis of the legal issues. Consequently, the R&R [Doc. 245] will be ACCEPTED IN

 WHOLE. Accordingly, for the reasons articulated by Judge Guyton in the R&R [Doc. 245],

 Defendant’s Motion to Suppress [Doc. 231] is DENIED.



        IT IS SO ORDERED.

                                     ENTER:

                                           s/ Thomas W. Phillips
                                         United States District Judge




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